Case 2:24-cv-00133-JRG Document 1-11 Filed 02/23/24 Page 1 of 7 PageID #: 322




       EXHIBIT 11
   Case 2:24-cv-00133-JRG Document 1-11 Filed 02/23/24 Page 2 of 7 PageID #: 323

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Inpixon > Blog > Positioning



Chirp, Bluetooth Low Energy &
Ultra-Wideband – What's Right For
You?
September 16, 2021 by Andreas Wehr
Read in 9 Minutes



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   Case 2:24-cv-00133-JRG Document 1-11 Filed 02/23/24 Page 3 of 7 PageID #: 324


Due to the availability of multiple technologies in the Real-Time Location Systems (RTLS) space, such as
Chirp, Bluetooth Low Energy (BLE), and Ultra-Wideband (UWB), finding the most relevant solution for your
organization can be a challenge. To help overcome this obstacle, we’re breaking down what makes each
type of technology unique and how you can determine which is the right fit for your company’s needs.



What is Chirp?

Chirp Spread Spectrum is a radio frequency (RF) signal that increases or decreases the frequency
overtime, making it a useful way to measure the distance or location of people and objects over large
distances. It utilizes Time of Flight (ToF) estimation in order to precisely measure distance or utilizes Time
of Arrival (ToA) with Time Difference of Arrival (TDoA) to calculate and communicate the location of both
static and moving targets, such as assets, inventory, people and vehicles.

Key benefits of using Chirp include:

      Location accuracy of 1-2m

      Indoor and outdoor support

      Long-range accessibility up to 1000m

      Near real-time positioning

      Protection against radio frequency interference

Inpixon’s unique application of 2.4GHz chirp-enabled RF technology allows companies to track critical
assets throughout large facilities and distances, making them easier to manage and secure.



What is BLE?

Bluetooth Low Energy or BLE, is another radio frequency technology for wireless communication that can
be leveraged to detect and track the location of people, devices and assets in indoor settings. BLE was
specifically created to consume very low power, significantly less than that of Bluetooth Classic versions
and other RF standards. BLE integrates easily with smartphones and other wireless devices including
wearables and is compatible with battery powered BLE beacons, making it cost-effective and versatile to
use.

Key benefits of BLE include:

      Location accuracy within 5m

      Lower power and low cost

      Easy to deploy
   Case 2:24-cv-00133-JRG Document 1-11 Filed 02/23/24 Page 4 of 7 PageID #: 325

      Extensible technology

Inpixon offers multiple use cases for BLE, including asset tracking, personnel tracking, proximity services,
and more.



What is UWB?

Ultra-wideband, or UWB, is a short-range RF technology for wireless communication that can be
leveraged to detect the location of people, devices, and assets with high precision. Like other
communication protocols including Bluetooth and Wi-Fi, UWB can be used to transmit data between
devices through radio waves. Its accuracy comes from its ability to send short nanosecond pulses over an
“ultra-wide” range of frequencies.

While most ideal for smaller ranges, the location of UWB signals can be determined within 50
centimeters, in optimal conditions and deployment, and extremely low latency. UWB’s ability to locate
targets using time-of-arrival (ToA) and quick nanosecond pulses with limited interference with other RF
transmissions, allows for precise indoor positioning with near real-time results that also track device
movements. Across short-ranges, UWB can deliver highly accurate, quick and secure communications,
with minimal interference.

Key benefits of UWB include:

      Location accuracy within 40 cm

      Greater precision accuracy

      Real-time positioning

      Reliable and secure



UWB versus BLE versus Chirp

UWB and BLE are often used for similar use cases involving greater precision and indoor settings.
However, there are key differences between them making each better-suited for different applications.

UWB technology typically delivers greater accuracy than BLE devices. This is in large part due to UWB’s
distance-based method to determine location via its ToA monitoring. BLE positioning technology typically
locates devices via RSSI, which yields a lower level of accuracy based on whether a device is transmitting a
strong or weak signal relative to its position. BLE also has a much shorter range and data rate than UWB
and is more prone to signal interference.

However, a key advantage of BLE is that it has a large tech ecosystem, making it a popular option for
many use cases. It is used in many of today’s wireless devices and remains a top choice for locationing,
offering an extensive set of flexible hardware options that can easily be implemented, such as BLE
   Case 2:24-cv-00133-JRG Document 1-11 Filed 02/23/24 Page 5 of 7 PageID #: 326
beacons.

Here is a table that summarizes the key features of BLE and UWB devices.


           Feature                      BLE                        UWB                        Chirp


   Location Accuracy                    <5m                      +/- 40 cm                    1-2 m


           Range                     Up to 100 m               Up to 200 m                Up to 1,000 m


       Frequencies                     2.4 GHz                3.1 - 10.6 GHz                 2.4 GHz




How Inpixon Can Help

Whether it’s Chirp, BLE or UWB, Inpixon offers you the ability to utilize these technologies to deliver what
your company needs. With Inpixon’s RTLS offerings, you can build an end-to-end solution that allows you
to track the location of personnel, assets, devices and more and gain intelligence on how to make your
operations smarter. From our proprietary RTLS chips, device-ready modules and specialized tags to
industrial-grade RTLS anchors and powerful nanoLES Location Engine, Inpixon has everything you need
to harness the power of Chirp, BLE and UWB to optimize your processes.


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                         ABOUT THE AUTHOR
 Case 2:24-cv-00133-JRG Document 1-11 Filed 02/23/24 Page 6 of 7 PageID #: 327

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   Case 2:24-cv-00133-JRG Document 1-11 Filed 02/23/24 Page 7 of 7 PageID #: 328




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